                   Case 1:21-cr-00028-APM            Document 1218         Filed 11/27/24       Page 1 of 6




                    GRAYDON YOUNG
                                                                                    21-cr-28-6 (APM)

                                                                                        30204-509

                                                                       Desiree Wilson



                               1sss and 2sss of the Fourth Superseding Indictment filed on 5/30/2021




18 U.S.C. 371                Conspiracy                                                     1/6/2021             1sss

18 U.S.C. 1512(c)(2), 2      Obstruction of an Official Proceeding and Aiding and Abetting 1/6/2021              2sss



                                                                   6




                All remaining counts




                                                                                          11/22/2024




                                                                              Amit P. Mehta, US District Judge
              Case 1:21-cr-00028-APM            Document 1218          Filed 11/27/24         Page 2 of 6

                                                                                                       2    6
               GRAYDON YOUNG
                21-cr-28-6 (APM)




Thirty-six (36) months as to Counts 1sss and 2sss with both such terms to run concurrently.
Case 1:21-cr-00028-APM   Document 1218   Filed 11/27/24   Page 3 of 6

                                                               3        6
GRAYDON YOUNG
 21-cr-28-6 (APM)
                Case 1:21-cr-00028-APM               Document 1218           Filed 11/27/24         Page 4 of 6

                                                                                                             4            6
                 GRAYDON YOUNG
                  21-cr-28-6 (APM)



Community Service - You must complete 120 hours of community service within 36 months. The probation officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.

This Court will maintain jurisdiction of this case but transfers supervision to the district of residence
                 Case 1:21-cr-00028-APM            Document 1218     Filed 11/27/24   Page 5 of 6

                                                                                             5      6
                 GRAYDON YOUNG
                  21-cr-28-6 (APM)




                 200.00                 2,000.00




Clerk of the Court of the United States

District Court for the District of Columbia
for disbursement to the following victim



Architect of the Capitol                                                        $2,000.00

Office of the Chief Financial Officer
Ford House Office Building, Room H2-205B

Washington, DC 20515




                                                   0.00                   2,000.00


                                                          2,000.00
       Case 1:21-cr-00028-APM              Document 1218           Filed 11/27/24       Page 6 of 6

                                                                                                    6   6
        GRAYDON YOUNG
          21-cr-28-6 (APM)




                         2,200.00




The financial obligations are immediately payable to the Clerk of the Court for the U.S. District
Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of
address, you shall notify the Clerk of the Court of the change until such time as the financial
obligation is paid in full.
